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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                    Case No. 1:21-cv-20039-RNS


  JOE MORFORD,

         Plaintiff,

  vs.

  MAURIZIO CATTELAN,

         Defendant.

  _________________________________________/

                             DEFENDANT’S MOTION TO DISMISS

         Defendant Maurizio Cattelan (“Defendant”), through his undersigned counsel and pursuant

  to Federal Rule of Civil Procedure 12(b)(6), moves this Court to dismiss the Complaint of plaintiff

  Joe Morford (“Plaintiff”). In further support of this Motion, Defendant states as follows:

                                          INTRODUCTION

         This purports to be an action for copyright infringement. In previous filings with this

  Court, Plaintiff asserted unequivocally that, “I do not assert a copyright claim to the idea of a

  banana duct taped to a wall. People are free to duct-tape all the bananas they want to a wall.”

  (Doc 37, at 21) (emphasis added). Yet, the Complaint tries to do exactly that: to stop Defendant

  from duct-taping a real banana to a wall. In fact, Plaintiff’s only complaint is that Defendant’s art

  piece, Comedian, which consists entirely of a real banana duct-taped to a wall, infringes Plaintiff’s

  copyright in a diptych work of art comprised of a synthetic sculptural banana and orange fixed to
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  green painted paper and surrounded by masking tape.1 But, Plaintiff cannot own the idea of a real

  banana duct-taped to a wall. Based on well-settled principles of law, the Complaint must be

  dismissed because: (1) the copyright laws do not permit “ownership” of a natural element that

  exists in the world (a fruit) or a utilitarian, functional component (duct tape), neither of which

  contain any original expression; (2) there is no substantial similarity between the protectable

  aspects of Plaintiff’s work and Defendant’s work; and (3) Plaintiff has not – and cannot –

  adequately allege Defendant’s access to Plaintiff’s work.

                                  SUMMARY OF THE COMPLAINT

          The facts relevant to this motion are set forth in the Complaint, filed on January 4, 2021,

  which alleges in total, that:

          The plaintiff is seeking damages in the form of gross profit generated by the
          defendant totaling over $390k. This is the amount of money made from three (3)
          direct sales of the piece and two (2) “artist proofs” via Art Basel in Miami Beach
          [Attachment 1]. The defendant’s piece “Comedian” is plagiarized from the
          plaintiff’s original art “Banana & Orange” [Registration Number:
          VA0002223672]. As well the plaintiff seeks court costs and travel expenses
          regarding the prosecution of this case. The plaintiff maintains proof of origin,
          access and substantial/striking similarity.

  (Doc. 1, at 4).

          A side by side comparison of Plaintiff’s work versus Defendant’s accused work is below: 2




  1
    The Complaint does not specify what medium the banana and orange in Plaintiff’s work utilize,
  but it is clear it is a synthetic material, whereas Defendant’s piece uses an actual banana.
  2
    A district court can also consider documents referenced in the complaint, even if they are not
  physically attached, if the documents are central to the complaint and no party questions their
  authenticity. Bryant v. Citigroup Inc., 512 F. App’x 994, 995 (11th Cir. 2013).
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         Plaintiff’s Work                                Defendant’s Accused Work




         Based on the razor thin allegations in the Complaint, and the well-established principles of

  law set forth below, the Complaint must be dismissed in its entirety and with prejudice.

                                         LEGAL STANDARD

         “To survive a motion to dismiss [under Federal Rule of Civil Procedure 12(b)(6)], a

  complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

  plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678, (2009) (quoting Bell Atl. Corp. v.

  Twombly, 550 U.S. 544, 570 (2007)). Although this pleading standard does not require detailed

  factual allegations, “it demands more than an unadorned, the-defendant-unlawfully-harmed-me

  accusation.” Id. Pleadings must contain “more than labels and conclusions, and a formulaic

  recitation of the elements of a cause of action will not do.” Id. (quoting Twombly, 550 U.S. at

  555). Thus, “[c]onclusory allegations, unwarranted deductions of facts or legal conclusions


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  masquerading as facts will not prevent dismissal.” Jackson v. BellSouth Telecomms., 372 F.3d

  1250, 1262 (11th Cir. 2004) (internal quotations omitted).

         In considering a motion to dismiss, a court should first “eliminate any allegations in the

  complaint that are merely legal conclusions,” and then “where there are well-pleaded factual

  allegations, ‘assume their veracity and then determine whether they plausibly give rise to an

  entitlement to relief.’” Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1290 (11th Cir. 2010)

  (quoting Iqbal, 556 U.S. at 679). To meet the “plausibility standard,” a plaintiff must “plead[ ]

  factual content that allows the court to draw the reasonable inference that the defendant is liable

  for the misconduct alleged.” Id. at 678 (citing Twombly, 550 U.S. at 556). However, “[t]he mere

  possibility the defendant acted unlawfully is insufficient to survive a motion to dismiss.”

  Sinaltrainal v. Coca-Cola Co., 578 F.3d 1252, 1261 (11th Cir. 2009) (citation omitted), abrogated

  on other grounds by, Mohamad v. Palestinian Auth., 566 U.S. 449 (2012). “[C]ourts may infer

  from the factual allegations in the complaint ‘obvious alternative explanation[s],’ which suggest

  lawful conduct rather than the unlawful conduct the plaintiff would ask the court to infer.” Kivisto

  v. Miller, Canfield, Paddock & Stone, PLC, 413 F. App’x 136, 138 (11th Cir. 2011) (citations

  omitted).

         Courts in this Circuit and others have not hesitated to dismiss copyright claims at the

  pleading stage where the accused work on its face is clearly not substantially similar to the asserted

  copyright, does not embody any protectible expression, or the plaintiff fails to adequately plead

  facts sufficient to support its claim of access. See, e.g., Seven Oaks Millwork, Inc. v. Royal Foam

  US, LLC, 483 F.Supp. 3d 1192 (M.D. Fla. 2020) (discussed infra at p. 9) (granting motion to

  dismiss copyright infringement claim where an historical architectural feature was not entitled to


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  copyright protection and there was no substantial similarity of remaining elements as a matter of

  law); Hayes v. Minaj, No. 2:12-cv-07972, 2012 WL 12887393 (C.D. Cal. Dec. 18, 2012)

  (discussed infra at p. 15) (granting motion to dismiss copyright infringement claim where plaintiff

  failed to adequately allege access or substantial similarity of protectable elements).

                                            ARGUMENT

  I.     PLAINTIFF’S CLAIM FOR COPYRIGHT INFRINGEMENT MUST BE
         DISMISSED

         The Copyright Clause of the United States Constitution provides that “Congress shall have

  Power ... to promote the Progress of Science and useful Arts, by securing for limited Times to

  Authors and Inventors the exclusive Right to their respective Writings and Discoveries ....” U.S.

  CONST. art. I, § 8, cl. 8. “The primary objective of copyright is not to reward the labor of authors,

  but ‘[t]o promote the Progress of Science and useful Arts.’” Feist Publ’ns, Inc. v. Rural Tel. Serv.

  Co., 499 U.S. 340, 349 (1991).

         To establish copyright infringement, a plaintiff must show at least two elements: “(1)

  ownership of a valid copyright, and (2) copying of constituent elements of the work that are

  original.” Singleton v. Dean, 611 F. App’x 671, 672 (11th Cir. 2015) (citing Beal v. Paramount

  Pictures Corp., 20 F.3d 454, 459 (11th Cir. 1994)). Importantly, “[t]he mere fact that a work is

  copyrighted does not mean that every element of the work is protected, because copyright

  protection extends only to the original elements of expression in a work.” Id. “To establish

  copying, the plaintiff must show that the defendant had access to the copyrighted work and that

  the two works are so ‘substantially similar’ that an average lay observer would recognize the

  alleged copy as having been appropriated from the original work.” Id. (citing Calhoun v. Lillenas

  Publ’g, 298 F.3d 1228, 1232 (11th Cir. 2002)). Here, Plaintiff’s copyright claim fails because,

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  among other reasons: (1) he is attempting to claim ownership of a natural element that exists in

  the world (a fruit) and a utilitarian, functional component (duct tape), which U.S. copyright law

  does not allow; (2) there is no substantial similarity between the protectable aspects of Plaintiff’s

  work and Defendant’s work; and (3) Plaintiff has failed to allege and cannot establish as a matter

  of law that Defendant had access to Plaintiff’s work.

          A.      Plaintiff Cannot Extend His Alleged Copyright to Cover Elements
                  that Exist in Nature and/or Utilitarian Components Because Such Elements
                  Do Not Contain Original Expression.

          Plaintiff’s copyright claim is based solely on the false notion that his copyright grants him

  ownership of any banana combined with duct tape. However, the copyright law does not operate

  to grant ownership to elements found in nature or to functional components. It has long been

  established that ideas that are standard, stock or common to a particular subject are not

  copyrightable by copyright law. See, e.g., Stewart v. Abend, 495 U.S. 207, 234 (1990) (an author

  “may receive protection only for his original additions,” not “elements ... already in the public

  domain”); Satava v. Lowry, 323 F.3d 805, 813 (9th Cir. 2003) (“Nature gives us ideas of animals

  in their natural surroundings,” and “These ideas, first expressed by nature, are the common heritage

  of humankind, and no artist may use copyright law to prevent others from depicting them” );

  Herbert Rosenthal Jewelry Corp. v. Kalpakian, 446 F.2d 738, 741 (9th Cir.1971) (“Any inference

  of copying based upon similar appearance lost much of its strength because both [works] were

  lifelike representations of a natural creature.”).




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          1.      Plaintiff Cannot Extend His Copyright to a Real Banana

          Plaintiff does not and cannot own a copyright in an actual banana as is used in Defendant’s

  work. Many courts have held that copyright protection does not extend to elements as they appear

  in the natural world, because such natural elements are part of the public domain. For instance, in

  an appeal of a preliminary injunction order the Ninth Circuit in Satava considered the scope of

  copyright protection that could be afforded to a realistic jellyfish sculpture in a glass jar. The court

  concluded that plaintiff’s sculpture was not protectable to the extent that it “merely combined

  several unprotectable ideas and standard elements” that were elements of the public domain,

  including tendril-like tentacles, rounded bells, and a clear outer layer of glass, “without the

  quantum of originality needed to merit copyright protection.”             Id. at 811, 813 (reversing

  preliminary injunction). The Ninth Circuit held that a purported copyright holder “may not prevent

  others from copying aspects of his sculptures resulting from either [the animal’s] physiology or

  from [the animal’s] depiction in the [particular artistic] medium.” Id. at 810.

          Similarly, in George S. Chen Corp. v. Cadona International, Inc., No. 04-365, 2006 WL

  8450995 (C.D. Cal. Feb. 14, 2006), the defendant moved for summary judgment dismissing

  plaintiff’s copyright infringement claim as a matter of law, arguing that a frog ornament and

  dolphin wind chimes did not satisfy the originality requirement set forth in 17 U.S.C. § 102(a)

  because they depicted animals found in nature and/or contained standard, stock characteristics.

  The court held that, “like the jellyfish sculpture in Satava, [plaintiff’s products are] a combination

  of unprotectable ideas without the quantum of originality necessary for the combination to

  constitute an original work of authorship.” Furthermore, the court’s own observation of the

  exemplar compelled it to find that “[t]he frog truly is a simple green frog sitting as it would in


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  nature” and that “[n]o reasonable fact finder would be able to find anything distinctive about the

  acrylic frog” Id. at 5; see also Folkens v. Wayland Worldwide, 882 F. 3d 768 (9th Cir. 2018)

  (dismissing copyright infringement claim because depiction of a dolphin is not copyrightable, and

  absent that non-protectable element, the two works, both featuring dolphins crossing at different

  angles, were not substantially similar); Kelley v. Chicago Park District, 635 F.3d 290 (7th Cir.

  2011) (holding that copyright in a flower garden was invalid because it failed the “fixation”

  requirement since flowers are living things existing in nature that morph over time). 3

         2.      Plaintiff Cannot Extend His Copyright to Duct Tape

         The copyright law does not protect functional components. See, e.g., Norris Indus., Inc. v.

  Int’l Tel. & Tel. Corp., 696 F.2d 918, 923 (11th Cir. 1983) (holding that wire wheel covers were

  “useful articles containing no physically or conceptually separable works of art” and were not

  entitled to copyright protection); Progressive Lighting, Inc. v. Lowe’s Home Ctrs., Inc., 549 F.

  App’x 913 (11th Cir. 2013) (affirming summary judgment in favor of infringer, because light

  fixtures were useful articles without separate artistic, nonfunctional elements); 11 Nimmer on

  Copyright § 906.8 (“Functional and Useful Elements”). Here, since the duct tape in both parties’

  works serves to affix the banana against the background surface, the duct tape serves a merely

  functional purpose and is therefore not “ownable” under copyright law.

         Based on the foregoing well-settled authority, Plaintiff was correct when he stated that his

  copyright cannot extend to Defendant’s real banana or duct tape, and the Complaint should be

  dismissed accordingly.




  3
    Like the vegetation in Kelley, Defendant’s real banana is a living thing that changes and ripens
  and ultimately rots and degrades. Accordingly, it cannot be covered by copyright.
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          3.      Plaintiff Cannot Extend His Copyright to the Combination of a Banana and
                  Duct Tape

          To the extent that Plaintiff contends that the combination of a banana and duct tape is

  capable of protection under the Copyright laws (even if the individual components are not

  protectible), this contention also fails.

          First, Plaintiff disclaimed this argument when he said that he was not trying to “assert a

  copyright claim to the idea of a banana duct taped to a wall” and is therefore judicially estopped

  from making it now. See Slater v. United States Steel Corp., 871 F.3d 1174, 1180 (11th Cir. 2017)

  (stating that the doctrine of judicial estoppel protects the integrity of the judicial process “by

  prohibiting parties from deliberately changing positions according to the exigencies of the

  moment” (quoting New Hampshire v. Maine, 532 U.S. 742, 749-50 (2001)).

          Second, the law is well-established that the mere combination of a banana and duct tape --

  two basic and unprotectable elements -- is not sufficiently original to warrant copyright protection.

  For instance, in Seven Oaks Millwork, Inc. v. Royal Foam US, LLC, supra, 483 F. Supp. 3d 1192,

  the court dismissed a copyright claim concerning photographs of various baluster designs. The

  court held that the “baluster image itself is not the type of original expression protected by

  copyright law.” Id. at 1198. The court explained: “To find otherwise would require the court to

  find a picture of a bare, centuries-old baluster design is an expression separable from the idea of

  the baluster itself,” which “is contrary to copyright law.” Id. at 1198 (citing Franklin Mint Corp.

  v. Nat’l Wildlife Art Exch., Inc., 575 F.2d 62, 65 (3d Cir. 1978); see also Satava, 323 F.3d at 811

  (“Our case law suggests, and we hold today, that a combination of unprotectable elements is

  eligible for copyright protection only if those elements are numerous enough and their selection

  and arrangement original enough that their combination constitutes an original work of

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   authorship”); George S. Chen Corp. v. Cadona Int’l, Inc., No. 04-365, 2006 WL 8450995 (C.D.

   Cal. Feb. 14, 2006).

           B.      Plaintiff Cannot Plead Substantial Similarity Regarding Any Protectable
                   Elements of His Work.

           Plaintiff alleges that the parties’ works are “strikingly similar.” This is a bare conclusion

   based on the fact that both works include a banana (or in Plaintiff’s case a depiction of a banana)

   and duct tape. However, Plaintiff cannot plead that there is substantial similarity, let alone, striking

   similarity, as to protectable elements of both works and, thus, his Complaint should be dismissed.

           Copyright protection “may extend only to those components of a work that are original to

   the author.” Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). Therefore, as

   noted above, although something may be entitled to copyright protection as a work, “not every

   element is protectible per se.” Lil’ Joe Wein Music v. Jackson, 245 F. App’x 873, 877 (11th Cir.

   2007) (citing Rogers v. Koons, 960 F.2d 301, 307 (2d Cir.1992)). The question of substantial

   similarity can be decided as a matter of law where the “similarity concerns only noncopyrightable

   elements of a plaintiff’s work…” Lassin v. Island Def Jam Music, No. 04-22320-CIV, 2005 WL

   5632056, at *4 (S.D. Fla. Aug. 8, 2005) (quoting Walker v. Time Life Films, Inc., 784 F.2d 44, 48

   (2d Cir.1986)). “[W]here we compare [works] that contain both protectible and unprotectible

   elements, our inspection must be ‘more discerning’; we must attempt to extract the unprotectible

   elements from our consideration and ask whether the protectible elements, standing alone, are

   substantially similar.”   Knitwaves, Inc. v. Lollytogs Ltd., 71 F.3d 996, 1002 (2d Cir.1995)

   (emphasis in original, citations omitted).

           To establish substantial similarity in this Circuit, a plaintiff must satisfy a two-pronged test:

   (1) an extrinsic, objective test, and (2) an intrinsic, subjective test. Lil’ Joe Wein Music, Inc., 245

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   F. App’x at 877 (citing Herzog v. Castle Rock Entm’t, 193 F.3d 1241, 1257 (11th Cir. 1999)). If

   a plaintiff cannot satisfy the extrinsic test, the court need not reach the intrinsic test. See Compulife

   Software Inc. v. Newman, 959 F.3d 1288, 1306 (11th Cir. 2020).

           “Under the extrinsic test, a court will inquire into whether, as an objective matter, the works

   are substantially similar in protected expression.” Id. For this test, “analytic dissection” is

   appropriate. Herzog, 193 F.3d at 1257. This means a “a court must filter out and disregard the

   non-protectable elements.” Kouf v. Walt Disney Pictures & Television, 16 F.3d 1042, 1045 (9th

   Cir. 1994) (applying the same ‘analytic dissection’ test utilized in the Eleventh Circuit); Compulife

   Software Inc., 959 F.3d at 1303 (“Filtration, again, refers to the process of separating the

   protectable elements of a copyrighted work from elements that, for one reason or another, aren’t

   protected”). After filtering out similarities as to the non-protectable elements, plaintiff must show

   “substantial similarity between any remaining (i.e., unfiltered) protectable material and the

   allegedly infringing work.” See Compulife Software Inc., 959 F.3d at 1306. If the works are

   similar only as to “unprotectable material, such that no substantial similarities remain after

   filtration, plaintiff’s copyright infringement claim fails. Id. Simply put, for the extrinsic test, “the

   court will determine whether [the plaintiff] seeks to protect only uncopyrightable elements,” and

   if so, the works are not substantially similar as a matter of law. Lil’ Joe Wein Music, 245 F. App’x

   at 877. In applying the extrinsic test, the court will engage in “analytic dissection” by “breaking

   the works into their constituent elements.” Latele Television, C.A. v. Telemundo Commc’ns Grp.,

   LLC, No. 12-22539, 2014 WL 7150626, at *7 (S.D. Fla., Dec. 15, 2014).4




   4
     “Under the ‘intrinsic test’, a court will determine whether, upon proper instruction, a reasonable
   jury would find that the works are substantially similar.” Lil’ Joe Wein Music, Inc., 245 F. App’x
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          Here, the constituent elements of Plaintiff’s work are a banana and orange oriented

   vertically (orange on top) in a diptych format, each of the banana and orange duct taped to separate

   pieces of rectangular painted green paper where the orange is surrounded by masking tape. The

   banana is oriented horizontally, and the duct tape runs vertically. The duct tape on the orange runs

   horizontally. Each piece of green paper is bordered by more masking tape. By sharp contrast, the

   sole elements in Defendant’s work are a real banana and duct tape. The banana is oriented

   vertically, and the duct tape runs at approximately a 45-degree angle. Thus, there is no similarity

   in protectible elements. For the reasons articulated above, copyright protection does not extend to

   a banana because a banana is an element that already exists in nature, and copyright protection

   does not extend to duct tape because duct tape solely functions in Defendant’s work to affix the

   banana to the wall. Filtering out these unprotectable elements, there is no similarity – not

   substantial similarity and not “striking similarity.”

          Moreover, because neither a banana nor duct tape are protectable under the copyright law,

   at best, Plaintiff has an exceedingly “thin” copyright. Where such a thin copyright exists, the

   appropriate standard for copyright infringement is “virtual identity.” For example, in Satava v.

   Lowry, 323 F.3d at 810, discussed previously, the court noted that the plaintiff had “made some

   copyrightable contributions: the distinctive curls of particular tendrils; the arrangement of certain

   hues; the unique shape of jellyfishes’ bells. However, because all other elements in his work were

   governed by “jellyfish physiology or the glass-in-glass medium,” Satava’s copyright on these

   elements (or their combination) was “thin, …comprising no more than his original contribution to




   at 877. However, because Plaintiff fails the extrinsic test, the Court need not reach the intrinsic
   test, and the Complaint should be dismissed.
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   ideas already in the public domain.” Id. Thus, the court held that plaintiff “may not prevent others

   from copying elements of expression that nature displays for all observers, or that the glass-in-

   glass medium suggests to all sculptors and that “Satava possesses a thin copyright that protects

   against only virtually identical copying.” Id.; see also Ets-Hokin v. Skyy Spirits, Inc., 323 F.3d

   763, 766 (9th Cir. 2003) (“When we apply the limiting doctrines, subtracting the unoriginal

   elements, Ets-Hokin is left with ... a ‘thin’ copyright, which protects against only virtually identical

   copying.”); Apple Computer, Inc. v. Microsoft Corp., 35 F.3d 1435, 1439 (9th Cir. 1994) (“When

   the range of protectable expression is narrow, the appropriate standard for illicit copying is virtual

   identity”).

           Filtering out the non-protectable elements -- a banana and duct tape -- Plaintiff cannot

   establish “substantial” or “striking similarity,” let alone “virtual identity” between the remaining

   elements of the parties’ works. Indeed, none of the elements that are even remotely unique in

   Plaintiff’s work -- namely the diptych nature of Plaintiff’s work given the combination of an

   orange and banana, the presence of an orange, the green backgrounds, the angles of the banana

   and the duct tape, the masking tape -- are present in Defendant’s work. In this regard, Folkens v.

   Wayland Worldwide, 882 F.3d 768 (9th Cir. 2018) is instructive. There, plaintiff sued defendant

   for copyright infringement concerning artistic works both featuring dolphins crossing underwater;

   in both works the dolphins crossed one going vertically and one going horizontally, but the

   dolphins in the two works were at slightly different angles. The court in Folkens dismissed

   plaintiff’s infringement claim on summary judgment. Citing Satava v. Lowry, 323 F.3d at 810,

   the court held that plaintiff had a very thin copyright which covered only the “exact positioning,

   the stippled light, the black and white depiction, and other specific and unique elements of


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   expression,” but not the natural element of crossing dolphins themselves (as they are animals

   existing in nature). Id. at 770. Filtering out the non-copyrightable elements (the crossing

   dolphins), the court found that because the dolphins crossed at even slightly different angles, there

   was no substantial similarity. Id.

          Therefore, as a matter of law, the works here are not substantially similar let alone virtually

   identical, and Plaintiff cannot succeed on his copyright claim as a matter of law. See, e.g., Cortes

   v. Universal Music Latino, 477 F. Supp. 3d 1290, 1297 (S.D. Fla. 2020) (“For the substantial

   similarity analysis, courts must compare the competing works side-by-side … Having done so

   here, the Court finds that Defendants are entitled to summary judgment because the works are only

   similar as to unprotectable elements and share no commonality at the level of protectable

   expression.”); see also Leigh v. Warner Bros., Inc., 212 F.3d, 1210, 1214-15 (holding that film

   sequences of a cemetery statue were not substantially similar to plaintiff’s photograph of cemetery

   statue where the only similar element was the statue itself, which was an unprotectable element,

   and there was no substantial similarity between the protectable elements – the “lighting, shading,

   timing, angle and [type of] film” of the photograph and the film sequences”).

          C.      Plaintiff Cannot Adequately Plead Access

          Access is a sine qua non of any copyright infringement claim. Plaintiff’s sole allegation

   concerning access is that, “plaintiff maintains proof of origin, access and substantial/striking

   similarity.” (Doc. 1, at 4). This is a conclusory statement devoid of any allegations of facts

   showing Defendant’s access to Plaintiff’s work, warranting dismissal of the Complaint. Jackson

   v. BellSouth Telecomms., 372 F.3d 1250, 1262 (11th Cir. 2004).




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           Plaintiff argued in support of its application for a default that Defendant had access to

   Plaintiff’s work because an image of it was posted on his Facebook page and appeared on

   YouTube. (Doc. 25, at 10 & 11). To the extent that the Court is constrained to consider this

   argument, such allegations, even if true, are insufficient as a matter of law to establish access

   necessary to support a copyright claim. See, e.g., Design Basics, LLC v. Lexington Homes, Inc.,

   858 F.3d 1093, 1108 (7th Cir. 2017) (holding that the “existence of the plaintiff’s copyrighted

   materials on the Internet” does not raise a genuine issue of material fact as to access); Stabile v.

   Paul Smith Ltd., 137 F. Supp. 3d 1173, 1187 (C.D. Cal. 2015) (“[S]imply displaying an image on

   a website for an undeterminable period of time is insufficient to demonstrate that it was widely

   disseminated.”); Loomis v. Cornish, No. CV 12-5525, 2013 WL 6044345, at *12 (C.D. Cal. Nov.

   13, 2013) (“The availability of a copyrighted work on the Internet, in and of itself, is insufficient

   to show access through wide-spread dissemination.”), aff’d, 836 F.3d 991 (9th Cir. 2016); Hayes

   v. Minaj, No. 2:12-cv-07972, 2012 WL 12887393, at *3 (C.D. Cal. Dec. 18, 2012) (on a motion

   to dismiss, court dismissed case finding the availability of a copyrighted work on the Internet, in

   and of itself, is insufficient to show access through wide-spread dissemination); O’Keefe v. Ogilvy

   & Mather Worldwide, Inc., 590 F. Supp. 2d 500, 515 (S.D.N.Y. 2008) (same); Cain v. Hallmark

   Cards, Inc., No. 3:15-00351, 2016 WL 3189231, at *5 (M.D. La. June 6, 2016) (“[E]stablishing a

   bare possibility of access is not enough, and a plaintiff must prove that ... a defendant had a

   reasonable possibility of viewing the work. Applying this doctrine, courts have consistently

   refused to treat internet publication alone as sufficient to engender this requisite possibility.”). 5



   5
     In the absence of sufficient access, plaintiff is required to plead the higher standard of “striking
   similarity” instead of “substantial similarity.” See Calhoun v. Lillenas Publ’g, 298 F.3d 1228,
   1232 n.6 (11th Cir.2002) (“Where a plaintiff cannot demonstrate access he may, nonetheless,
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                                           CONCLUSION

          For these reasons, the Court should dismiss Plaintiff’s Complaint in its entirety and with

   prejudice.

                                                Respectfully submitted,

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   establish copying by demonstrating that his original work and the putative infringing work are
   strikingly similar.”). Moreover, as indicated above, where Plaintiff has only a very “thin”
   copyright, the standard to demonstrate similarity is “virtual identity.” See Ets-Hokin v. Skyy
   Spirits, Inc., 323 F.3d 763, 766 (9th Cir. 2003). For the reasons set forth in Section I.B. above,
   Plaintiff cannot plead either substantial similarity, striking similarity, or virtual identity.
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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on May 6, 2022, I electronically filed the foregoing with the

   Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing to

   all parties and counsel of record.

                                              By: /s/ Julie E. Nevins




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